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11
                             IN THE UNITED STATES DISTRICT COURT
12
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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15    RALPH COLEMAN, et al.,                                       CASE NO. CIV S-90-0520 LKK
                                                                   JFM P
16                                                   Plaintiffs,
                                                                   DEFENDANTS’
17                   v.                                            PRODUCTION AND
                                                                   SUBMISSION OF FINAL
18    ARNOLD SCHWARZENEGGER, et al.,                               CRIPA AGREEMENT

19                                                 Defendants.

20

21            On May 3, 2006, this Court’s ordered Defendants to file under seal a copy of the draft

22 agreement reached between the Department of Mental Health (DMH) and the United States

23 Department of Justice concerning allegations brought under the Civil Rights of Institutionalized

24 Persons Act (CRIPA). On May 3, 2006, the agreement between the DMH and United States

25 Department of Justice was finalized. A copy of the final agreement was provided to Plaintiffs’

26 counsel in this matter. Plaintiffs’ counsel has agreed that there is no need for the production of

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     CRIPA AGREEMENT
                                                     1
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 1 the draft agreement. Defendants provide this Court with the final agreement (stipulation and

 2 consent judgment) attached as Exhibit A and request this Court find that the May 3, 2006 order

 3 to produce the draft agreement has been mooted.

 4                  Dated: May 8, 2006

 5                                       Respectfully submitted,

 6                                       BILL LOCKYER
                                         Attorney General of the State of California
 7                                       JAMES M. HUMES
                                         Chief Assistant Attorney General
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                                         FRANCES T. GRUNDER
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                                         /s/ Lisa Tillman
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13
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14

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     CRIPA AGREEMENT
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                       DECLARATION OF SERVICE BY U.S. MAIL

Case Name:     Coleman v. Schwarzenegger, et al.

No.:           CIV S-90-0520 LKK JFM P

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age and
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On May 8, 2006, I served the attached Defendant’s Production and Submission of Final Cripa
Agreement by placing a true copy thereof enclosed in a sealed envelope with postage thereon
fully prepaid, in the internal mail collection system at the Office of the Attorney General at 1300
I Street, Suite 125, P.O. Box 944255, Sacramento, CA 94244-2550, addressed as follows:

Pete Cockeroft, H-86887
California State Prison, Sacramento
FA2-205 - H86887
P.O. Box 290066
Represa, CA 95671-0066

Kimberly S. Davenport
California Medical Association
221 Main Street
San Francisco CA 94105



I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on May 8, 2006, at Sacramento, California.

               A. Buckley                                    /s/ A Buckley
               Declarant                                     Signature
30116705.wpd
